Case 2:23-cv-03452-JAK-MRW Document 25 Filed 06/09/23 Page 1 of 5 Page ID #:221



                                                             06/09/2023
                                                                   TJ




                                                        LA CV23-03452 JAK (MRWx)
Case 2:23-cv-03452-JAK-MRW Document 25 Filed 06/09/23 Page 2 of 5 Page ID #:222
Case 2:23-cv-03452-JAK-MRW Document 25 Filed 06/09/23 Page 3 of 5 Page ID #:223
Case 2:23-cv-03452-JAK-MRW Document 25 Filed 06/09/23 Page 4 of 5 Page ID #:224
Case 2:23-cv-03452-JAK-MRW Document 25 Filed 06/09/23 Page 5 of 5 Page ID #:225
